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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


BILLY JACK CRUTSINGER,                  §
          Petitioner,                   §
v.                                      §
                                        §         No. 4:07-CV-00703-Y
LORIE DAVIS, Director,                  §
Texas Department of Criminal            §         (death-penalty case)
Justice, Correctional                   §
Institutions Division,                  §
          Respondent.                   §



   MEMORANDUM OPINION AND ORDER DENYING RULE 60(b) MOTION AND,
       IN THE ALTERNATIVE, DENYING AUTHORIZATION OF FUNDS

     Eleven years ago, this Court denied federal habeas petitioner

Billy Jack Crutsinger's request under 18 U.S.C.            §   3599(f) for funds

to investigate an unexhausted and procedurally barred claim of

ineffective trial counsel. That ruling was correct under the law,

but the law has since changed. It may now be error for a district

court to refuse needed funding in cases where there is a credible

chance   it   would   enable   the   petitioner    to    overcome    procedural

default - -and the ineffectiveness of state habeas counsel may over-

come procedural default for claims of ineffective trial counsel.

Ayestas v . Davis, 138 S. Ct. 1080, 1094 (2018); Trevino v . Thaler,

569 U.S 413 (2013); Martinez v . Ryan, 566 U.S. 1 (2012).

     The questions now before the Court are whether the circum-

stances require reopening this case under Federal Rule of Civil

Procedure 60(b) (6)    and,    if so,   whether Crutsinger has made the

necessary showing for funding under         §   3599(f) . The Court answers

both of these questions in the negative.
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                            I.   RULE 60(b) (6) Motion

     The Court assumes the parties' familiarity with the history of

the case as set out in the Court of Appeals' remand order and will

not repeat it.        See   Crutsinger v.         Davis,    No.    18-70027,    2019 WL

2864445 (5th Cir. July 3, 2019).

     Federal Rule of Civil Procedure 60(b) (6)                      allows a district

court to grant relief from a final judgment, order, or proceeding

for any reason that justifies relief. See Fed. R. Civ. P. 60(b) (6).

District courts have jurisdiction to consider Rule 60(b) motions in

28 U.S.C.    §   2254 habeas-corpus proceedings so long as the motion

attacks not the substance of the court's resolution of the claim on

the merits but some alleged defect in the integrity of the habeas

proceedings . See Gonzalez v.          Crosby,       545 U.S.      524,   532 nn. 4,   5

(2005) . The United States Court of Appeals for the Fifth Circuit

held that this Court has jurisdiction to decide Crutsinger's Rule

60(b) motion. Crutsinger, 2019 WL 2864445, at *4.

     To     justify    reopening      the       judgment,       Crutsinger   must   show

"extraordinary circumstances." See Gonzalez, 545 U.S. at 535. Such

circumstances will rarely occur in the habeas context . Id .                    (paren -

thetically noting that this strict interpretation is essential to

preserve     the   finality      of   judgments) .         In    determining    whether

extraordinary circumstances exist, this Court may consider a wide

range of factors,      including, in an appropriate case, the "risk of

injustice to the parties" and the "risk of undermining the public's


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confidence in the judicial process." Buck v. Davis, 137 S. Ct. 759,

778 (2017). A change in the Supreme Court's interpretation of the

AEDPA is rarely extraordinary by itself. See Gonzalez, 545 U.S. at

536 (stating that it is hardly extraordinary that , after Gonzalez's

case was       no    longer pending,             the   Supreme Court interpreted the

statute differently)

       As the Court of Appeals has already acknowledged,                                circuit

precedent appears to foreclose Crutsinger ' s reliance on the changes

in law brought by Martinez / Trevino.                    Crustinger v. Davis, No. 18-

70027, 2019 WL 3243399, at *2 n.1 (5th Cir. July 19, 2019)                                 (order

denying stay); see Adams v. Thaler, 679 F. 3d 312, 319-20 (5th Cir.

2 012) (rejecting argument that Martinez and t h e equitable imperative

that    the    "true merit of             the cause be heard"              constitute extra-

ordinary circumstances in death-penalty case); Diaz v . Stephens,

731 F.3d 370,         376    (5th Cir.       2013)      (holdi ng that Trevino did not

undermine Adams) .

       Crutsinger's          reliance       on    the     changes     in     law    brought   by

Martinez / Trevino appears to be foreclosed by Gonzalez as well. In

Gonzalez, the Supreme Court held that a change in equitable-tolling

law    under        the     AEDPA     did     not       constitute      an     extraordinary

circumstance that justified reopening the district court's dismis-

sal    of   Gonzalez's        petition       as       time-barred.     The    Supreme      Court

further       stated      that      the     change       in   law    was     "all    the    less

extraordinary in petitioner's case because of his lack of diligence


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in pursuing review of the statute-of-limitations issue." Gonzalez,

545 U.S. at 636-37.

       Here,     the   changes    in   the       law   affecting        funding     are,   if

anything, less extraordinary than the changes discussed in Gonzalez

because a lack of funding did not prevent Crutsinger from pre-

senting a claim . Unlike Gonzalez,                 whose petition was dismissed,

this    Court     addressed      at    length      the    merits        of     Crutsinger's

ineffective-trial-counsel claim                  (IATC)   based on           the   timing of

counsel's investigation. Crutsinger v. Thaler, No. 4:07-CV-703-Y,

2012   WL   369927,     at   *4-13     (N.D.      Tex.    Feb.     6,   2012).      Although

Crutsinger did not develop or present this particular IATC claim in

state court (he presented different ones) , the record in this Court

was sufficient to make an informed merits review, as discussed in

the pages that follow.

       Nevertheless, Crutsinger asserts that the following additional

factors together create extraordinary circumstances that justify

reopening the judgment:

       1.      The nature of the proceedings as habeas corpus, in
               which traditional res-judicata rules have never
               applied, and the careful adjudication of which the
               Supreme Court has called the highest duty of a
               federal court, citing Preiser v. Rodriguez, 411
               U.S. 475, 497 (1973) and Harris v. Nelson, 394 U.S.
               286, 292 (1969).

       2.      The nature of the case as a capital case.

       3.      The nature of the alleged defect as a deprivation
               of guaranteed representation, which is structural
               in nature and undermines public confidence in the
               judicial process.

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      4.       The nature of the alleged defect, which operated to
               preclude hearing the true merits of the case
               because it thwarted Crutsinger's ability "even to
               discover and allege material facts in support of
               claims he sought to pursue in good faith."

      5.       The fact that the Supreme Court specifically
               mentioned this case in Ayestas, 138 S. Ct. at 1093.

      6.       The facts underlying the claims affected by the
               alleged defect are egregious,      including that
               petitioner's trial counsel went to trial only five
               months after being appointed in a capital case and
               state habeas counsel effectively abandoned him.

      7.       Crutsinger has exercised extraordinary diligence in
               pursuing his representation rights.

      (Opposed Motion for Relief from Judgment Pursuant to Fed. R.

Civ. Proc. 60(b) (6), p . 24-26 (Dkt. No. 90); Supplemental Brief in

Support of Motion for Relief from Judgment, p. 3-4 (Dkt. No. 111) .)

The Court addresses these factors below.

           Factors 1, 2 (capital habeas nature of the case)

      Crutsinger' s assertion that Rule 60 (b) (6)              relief is proper

because this is a death penalty proceeding in the nature of habeas

is not persuasive because the cases offered in support (Preiser and

Harris) do not address Rule 60(b) or the reopening of a judgment.

Further,    these    cases   pre-date       the   AEDPA,    which     significantly

changed    and    limited    the   availability       of    habeas     relief.   See

Gonzalez, 545 U.S. at 530; see also, e.g., Teague v. Lane, 489 U.S.

288   (1989)     (holding that new constitutional             rules    of   criminal

procedure generally do not apply on habeas review) .




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        The opinions in Adams, 679 F .3d 312 and Diaz, 731 F.3d 370,

which     were    death-penalty     cases,          also    undermine     Crutsinger's

argument that all death-penalty habeas cases are extraordinary for

purposes of Rule 60(b). To hold otherwise would render meaningless

the strict limits on Rule 60 (b) ( 6)               relief. As the Supreme Court

noted in Harris,        394 U.S.   at 298,          the courts have no power to

rewrite the rules by judicial interpretations.

                         Factor 3 (st ructural error)

       Crutsinger wrongly characterizes the alleged defect in this

proceeding       as   structural   error       in   the     form   of   the   denial   of

representation. This Court's 2008 ruling on his motion for funding

was not a    "defect" in the proceedings.                  It was correct under the

law,    which did not allow the alleged ineffective assistance of

state habeas counsel to excuse a procedural default. See Coleman v .

Thompson, 501 U.S.       722 (1991). That did not change for Texas until

Trevino was decided in May of 2013.

       In recognition of this long-standing rule, Crutsinger did not

even present in 2008 the argument under which he now claims the

Court's ruling was defective. He stated clearly that he was not

relying on the alleged ineffectiveness of his state habeas counsel

as cause to excuse procedural default:

       To be sure that we are on the same page, Mr. Crutsinger
       is not asserting a theory that his state habeas counsel
       [ ] rendered ineffective assistance of state habeas
       counsel thereby violating a constitutionally-based right
       sufficient to constitute cause to excuse a procedural
       default. What Mr. Crutsinger is asserting is that the

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     state    corrective        process         was       thereby
                                                         ineffective
     triggering the statutory law exception,           28 U.S.C.
     2254 (b) (1) (B) (ii). Accordingly, there is no "unexhausted
     claim for which funding is sought," because the doctrines
     of exhaustion and procedural default are inapplicable.

See Motion for Reconsideration and Amplification of Application for

Funding   and Appointment       of        Investigator,      p.    15    (Dkt.    No.       17)

(emphasis in original)     ("Amended Application for Funds").

     Crutsinger has modified his briefing post-Martinez to include

the argument he previously disavowed. See Opposed Motion to Alter

or Amend the Judgment under Fed. R. Civ. Proc. 59(e), p. 14,                            ~    28

(Dkt. No. 52); Rule 60(b) Motion, p. 1 (Dkt. No. 90)                       But in 2008,

it was not a procedural "defect" to refuse to fund an unexhausted

claim. The fact that Crutsinger specifically declined to rely on

his state habeas counsel's alleged ineffectiveness as cause to

excuse default suggests a lack of diligence and a lack of extra-

ordinariness. See Gonzalez, 545 U.S. at 537 (stating that change in

law is made all the less extraordinary by a lack of diligence) .

     Factors 4 and 6 (preclusion of "true merits review" and
           egregious representation by trial counsel)

     Crutsinger asserts that the denial of funds precluded a "true

merits" review of the case and that trial counsel's representation

was egregious.   He concludes that,             therefore,        there is a risk of

undermining public confidence because the "erroneous" denial of

funding   dictated the outcome of               every decision          that     followed.

(Supplemental    Brief,    p.     4   I     8    (Dkt.     111) . )     This     argument

misrepresents the Court's ruling, which was not erroneous at the

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time it was made. As such, the reopening of a proper judgment not

for   the purpose of addressing an error,            but to fund a        fishing

expedition for new claims, creates a greater risk of undermining

public confidence.     It would signal that death-penalty cases are

never final but subject to new litigation with every change in law,

regardless of the effect on the validity of the judgment.

      Moreover, the assertions that the denial of funding precluded

a true merits review and that trial counsel's representation was

egregious,   border on frivolous.          This Court thoroughly reviewed

Crutsinger' s   IATC   claim    that   trial   counsel    failed   "to    timely

initiate a social history investigation, which caused counsel to

overlook evidence of      his mental       impairments      caused by alcohol

addiction,   head trauma,      depression,     and low intelligence . "      See

Crutsinger v.   Stephens,      576 F. App ' x 422,    425    (5 th Cir.   2014),

abrogated on other grounds by Ayestas v.            Davis,    138 S.   Ct. 1080

(2018).   Crutsinger' s   disagreement with the          Court's   conclusions

notwithstanding, the record before this Court was sufficient to do

so.

      First, Crutsinger filed in support of his federal petition the

report from the trial mitigation specialist and forensic psycho-

logist, Dr. Kelly Goodness, and her team. See Petition, Exhibit C . 1



      1
       Dr. Goodness's complete report can most easily be found at CM/ECF
docket entry 26, attachment #4, which is the unfiled version of the
Petition. Although the report was refiled under docket entry 31
(attachme nts #3 and #4), that version is missing some pages.

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Dr. Goodness's timing, credentials, and thoroughness can therefore

be objectively assessed. Second, the state habeas record contains

an affidavit from trial counsel generally addressing their efforts

in the case. They explained that testimony from their two mental-

health experts would not have benefitted Crutsinger at trial due to

their opinions and the fact that it would have opened the door to

an evaluation by, and testimony from, the State's expert .                     (7/7 SHR

1529;       see 25 RR 16-18        (trial counsel's colloquy in open court

regarding decision not to present psychiatric testimony) . ) Third ,

Crutsinger's petition was also supported by scientific literature,

which this Court took at face value, and other materials apparently

from trial counsel's files.               (Petition, p. 67 (Exhibit Li st) . ) 2 All

of this material spoke directly to Crutsinger's claim that trial

counsel's investigation began too late and caused him to overlook

mental-health impairments.

        In addition,      the trial court clerk's record includes orders

demonstrating that trial counsel had procured a fact investigator,

a psychiatrist (Barry Mills), a DNA expert                   (Identagene,     Inc.), a

forensic psychologist and mitigation investigator (Kelly Goodness),

and a prison classification expert                  (Walter Quijano).       (1/8 CR 35,

50,   63,     67;   7/8   CR   1309 . )    The    clerk's   record   also    reveals   a

rigorous pretrial motions practice. While this information does not




        2
     The Exhibit List is on . pdf page 17 to the attachment
identified as "#2 Supplement" to docket entry number 31.

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directly reflect the sufficiency of the mitigation investigation,

it speaks to the quality of counsel's overall representation. For

example,    trial counsel targeted Crutsinger' s            confession as       the

critical piece of evidence and challenged its admissibility in four

motions to suppress and two pretrial hearings.                   The trial court

agreed in part,       ruled the arrest was illegal, and excluded some

evidence.    ( 25 RR 14 i 8 / 8 CR 1333 . ) Counsel also developed a claim

challenging     the   disproportionate      treatment       by   local    district

attorneys of death-eligible defendants, a claim that was commonly

presented in post-conviction litigation at the time but had never

before been factually developed.          (3 / 8 CR 287.)    These are but two

examples.

        Tarrant County, where Crutsinger was tried, also practices an

open-file policy in capital-murder cases.           (32 RR 23-24         (testimony

regarding open file policy for misdemeanor cases all the way up to

capital murder).)      Thus,   all records obtained by the prosecution

would have been available to the defense.               In this     regard,    the

clerk's record contains orders for the release of records and/or

subpoena requests from:         Tarrant County Outreach,          The Salvation

Army,    Phoenix Association,     Tarrant    County Mental Health/ Mental

retardation services,      Tarrant   County Jail,       Galveston Sheriff's

Department, John Peter Smith Health Center, John Peter Smith Stop

Six Clinic, Birdville Independent School District, television news

channels, state prison health services archives, John R . Lindsey



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State      Jail,     Osteopathic       Hospital--Fort     Worth,     Tarrant   County

Medical Examiner's Office              (concerning the death of Crutsinger's

toddler, Billy Earl),             Keller Police Department         (concerning Billy

Earl), Mount Olivet Cemetery (burial records for Crutsinger family

and Misty Juanita Crutsinger) , and Bluebonnet Hills Funeral Home

(concerning Billy Earl and Crutsinger family) .                    (1/8 CR 68-71; 8/8

CR 1340-1438.) Most of these records, and many more, are included

in   the    case    material      reviewed by Dr.        Goodness.    See   Petition,

Exhibit C, Appendix A. 3

      Next,        this   Court     assessed     trial   counsel's     investigative

efforts from the contents of the reporter's record. In a case such

as this, where DNA evidence tied the defendant to the crime and the

defendant      confessed       to    the   detective     and   a   jail   nurse,   the

strategies at the guilt-innocence phase are necessarily limited.

Nevertheless, counsel called the detective and four police officers

to relitigate the legality of Crutsinger's arrest before the jury.

Trial counsel presented expert testimony over the State's objection

that the arrest lacked probable cause, such that the confession and

buccal swab (from which the DNA evidence was developed ) were con-

stitutionally tainted.              (30 RR 2-15    (hearing on admissibility of

testimony), 30 RR 29-33, 41 (expert testimony).)




      3
       The Appendix can be found at .pdf pages 19-21 in attachment
#4 of docket entry 26 (the unfiled petition).

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      At punishment, trial counsel called two correctional officers

and the bailiff to testify to Crutsinger's good behavior while

incarcerated. (31 RR 154, 158 (describing Crutsinger as "top of the

heap"); 32 RR 2, 7 (no write-ups), 10, 13 (no disciplinary marks,

no complaints from officers or other prisoners).) Counsel called an

assistant district attorney to downplay the seriousness of Crut -

singer's prior conviction for assaulting his mother by showing that

the   prosecutor    entered    into        a   plea   bargain    for   deferred

adjudication probation.     (32 RR 18-20.)

      Counsel called a private detective and youth minister who met

Crutsinger three weeks before the murders while serving meals to

the homeless. He said Crutsinger was a broken man, wept heavily,

and that "the desperation in his life was overwhelming." Crutsinger

had indicated he might hurt himself.            (32 RR 33-40.)

      The defense called Crutsinger's first wife, who described the

loss of their newborn daughter and said Crutsinger probably took it

harder than she. (32 RR 45-49.) Counsel called Crutsinger's current

wife, who described his drinking problem and "personality changes"

from drinking . She told the jury about the death of his sister (who

died in a car accident while Crutsinger was driving), the death of

his brother from illness, the death of h i s father who was hit by a

car, the death of his toddler son by drowning, and the death of his

teenage son who died from lymphoma.             She said Crutsinger was on

medication due to depression from all these deaths.              (32 RR 67-78.)


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The defense called Crutsinger's sister - in-law, who also described

his huge alcohol problem but said he was kind, caring, and helpful

when not drinking and "would give you the shirt off his back." (32

RR 93-102.)

        Counsel called Crutsinger's mother,        who admitted that    the

sheriff had to bring her to court because she did not want to

testify. She stated that Crutsinger's father abused alcohol, even

on the job, and that Crutsinger's bad behavi or was mostly caused by

drinking . Although she was the complainant in the assault case

against Crutsinger, she denied that he ever hit her, and said she

could not have "anybody better" when he was sober.          (32 RR 111-18,

123.)

        The defense closed by calling a      classification expert who

testified about the conditions and security measures under which

Crutsinger would live if given a life sentence.          (32 RR 128-153 . )

The defense offered Crutsinger's health records from John Lindsey

State Jail and his records from the Birdville Independent School

District .   (32 RR 177 (DX 9, 10) .) Crutsinger agreed on the record

that he was sat i sfied with counsel's represe n tation and "got every

witness that we wanted . "   (32 RR 179-80.)

        This Court rejected Crutsinger's allegations that the mitiga-

tion investigation was too compressed to reasonably inform trial

counsel's strategy at all phases of the trial and, in particular,

the decision not to pursue a mental-health based defense. The Court


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also alternatively addressed the asserted prejudice, which will not

be   reiterated         here.    See     Crutsinger,         2012     WL    369927,     *7-9.

Crutsinger's argument that the "true merits" of his claim were not

heard is therefore incorrect.

      Indeed, this argument is based on Crutsinger's post-judgment

attempts    to   recast     his    IATC claim as             some    other claim which,

Crutsinger alternatively asserts, was either misinterpreted by this

Court or was a claim he would have made if only this Court had

provided the requested funds. See Opposed Motion to Alter or Amend

the Judgment under Fed. R. Civ. Proc. 59(e)                         (Dkt. No. 52); Order

Denying Motion to Alter or Amend the Judgment                         (Dkt. No.       56).    In

denying the Rule 59(e) motion, this Court held that Crutsinger's

revamped IATC claim had no more purchase than the claim he actually

raised. See Order Denying Rule 59(e) Motion, p. 5-6 (Dkt. No. 56).

      If Crutsinger's failure to obtain funding prevented him from

presenting a claim, he has not stated what exactly that claim is.

As   discussed     in    Section       II,   he   makes      general       allegations        of

purported deficiencies by trial counsel that are contradicted by

the record.      It rather appears from his most recent briefing that

Crutsinger no longer asserts that this Court misread his petition

or   that   he   was    unable    to develop       a    specific       IATC    claim.        His

contention now appears to be that,                  without funds           to retain an

investigator,      federal        habeas     counsel         can    never     provide        the

"representation"         contemplated under            the    statute.      See   Reply       to


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Response      to    Motion      to    Stay       Execution         Pending    Provision         of

Representation to Investigate and Prepare an Initial Habeas Corpus

Application,        p.   2-3    (Dkt .    No.    119) .      This    argument      belies      the

standards for discretionary funding in§ 3599(f) that are discussed

in Ayestas, and Crutsinger is no more extraordinary than any other

petitioner      represented          by   counsel       who     failed       to    meet      those

standards.

              Factor 5 (Ayestas' abrogation of Crutsinqer)

      The    fact    that      the   Supreme         Court    1n Ayestas          specifically

mentioned the Fifth Circuit's opinion in this case is merely a

restatement of the fact that the decisional law has changed since

the appeal was decided . In fact,                    the Ayestas opinion emphasizes

that there was no error in this case before Trevino. See Ayestas,

138 S. Ct. at 1093 (holding that Fifth Circuit rule, adopted before

Trevino,     that funding request must present viable constitutional

claim not procedurally barred is, after Trevino, too restrictive).

                            Factor 7 (due diligence)

     Assuming Crutsinger has exhibited due diligence, he fails to

provide      authority      that     diligence         plus    a     change       in   law    are

sufficient in death-penalty cases to reopen a judgment under Rule

60 (b)(6).




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                                        Conclusion

       The   Court     concludes      that    Crutsinger has          not    demonstrated

extraordinary circumstances sufficient to justify reopening the

judgment. The Rule 60(b) Motion is DENIED .



                            II.     APPLICATION FOR FUNDS

       Alternatively,        if   the    Court    were   to     reopen      the    case   and

reconsider the funding request under Ayestas, it would be denied.

                       Crutsinger's Prepetition Requests

       In 2008, Crutsinger moved ex parte for authorization of $7,500

to     retain    a    mitigation        investigator.         See     Application         for

Authorization for Funding and Appointment of Investigator (Dkt. No .

13)    ("Application for Funds"). Crutsinger asserted that only five

months had elapsed between his arrest and conviction,                             which was

insufficient for a "thorough mitigation workup," and he asserted

that    trial    counsel      did    not     "address    the     current          scientific

knowledge" about alcohol addiction.                Crutsinger sought to retain

Toni Knox, LCSW, to develop a Wiggins/Rompilla claim and possibly

other claims. He concluded that upon information and belief, he had

meritorious claims that pivoted on his mental-health deficits and

could overcome the failure to exhaust.                   Id.,    p.   2-5.    This Court

denied the motion without prejudice to his filing another motion

addressing      how    he   could    overcome     the    procedural         bar     and   his

failure,     if any,    to develop the factual basis for the claim in


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state court.   Ex -Parte Order Denying Application for Funding and

Appointment of Investigator (Dkt. No. 14).

     In his amended ex-parte motion, Crutsinger argued that he was

excepted from the exhaustion requirement because the corrective

process in state court was so clearly deficient as to render futile

any effort to obtain relief. See       §   2254 (b) (1) (B) (ii); Duckworth v .

Serrano, 454 U.S. 1 (1981). As previously noted, he said his state

habeas counsel was ineffective, but he did not assert this as cause

to excuse procedural default. See Coleman, 501 U.S. 722 .                   (Amended

Application for Funds, p. 15-18 (Dkt . No . 17 ) .)

     The mainstay of Crutsinger's claim against trial counsel was

that the jury's verdict was not reliable because only five months

had elapsed from the date of the offense to the date of trial.

(Amended Application for Funds,        p.    9   (Dkt.    No.    17) .)   Crutsinger

presented a declaration from Toni Knox stating that a trial-level

mitigation   investigation    requires       eight       to     twelve    months    to

complete.    See   Application   for       Funds,    Exhibit        A,~    9. 4   Knox

recommended that a "thorough mitigation investigation be completed

and a psycho-social history prepared, which can be reviewed, at a

minimum, by an expert in addiction to help explain" Crutsinger's

behavior. Although Knox referred to some trial testimony, she did

not acknowledge the investigative work that was done at trial. For



     4
       Ms. Knox's declaration is in the docket as "#1 Supplement"                   to
docket entry number 13.

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example,      she    stated   the    mitigation    investigation        should       have

included extensive interviews with the defendant, but she failed to

acknowledge        that Dr.   Goodness's team subjected him to fourteen

hours of interviews and testing. Id.           ~   11; Petition, Exhibit C, p.

3 (Dkt. No. 26 ) .

        So it was not Knox's opinion that the mitigation investigation

at trial was insufficient. Knox simply said it was of insufficient

length and recommended that "a thorough mitigation investigation be

completed . " (Application for Funds, Exhibit A,             ~   15 (Dkt. No. 13 ) . )

Strangely, and contrary to her assertion that such an investigation

takes a minimum of eight to twelve months,                  she stated she could

complete the investigation in 150 hours, although she might need

additional hours if further needs were identified.                  (Id . ,   ~   9, 17.)

Thus, Knox's ability to conduct an investigation in 150 hours, the

equiv alent    of     about   four    forty-hour     work    weeks     spent       over,

presumably, several months, appears to undermine Crutsinger's main

complaint.

        In any event, Crutsinger concluded that both trial counsel and

state     habeas    counsel   left     significant    issues      "unexplored        and

unexplained," including Crutsinger's alcoholism and "personality

change"    after one drink,          his history of    domestic violence and

abuse,    and repeated losses of significant friends and relatives

during his childhood and early adulthood.             (Amended Application for

Funds, p. 11 (Dkt. No. 17) . )


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                                            Applicable Law

        A state prisoner under a sentence of death who petitions for

habeas relief under              §     2254 and is financially unable to obtain

adequate       representation               or     "investigative,           expert,        or    other

reasonably necessary services," is entitled to the appointment of

counsel       and   the    furnishing              of       such   services.      See    18      U.S.C.

§   3599(a) (2). The proper application of the standard requires this

Court    to    consider         ( 1)    the      potential         merit   of    the    claim        that

Crutsinger wants to pursue,                      (2)    the likelihood that the services

will generate useful and admissible evidence, and (3) the prospect

that    Crutsinger will                be   able       to    clear   any procedural           hurdles

standing in the way. Ayestas, 138 S. Ct. at 1093. Crutsinger is not

expected to prove that he will be able to win relief; the inquiry

turns on the likely utility of the services requested and there is

no guarantee that an applicant will have enough money to turn over

every stone. Id.

        In addressing the likelihood that the requested services would

generate useful and admissible evidence in pursuit of a claim with

potential merit,          the Court is necessarily mindful of the Supreme

Court law governing IATC claims.                            Specifically,       the selection of

expert    witnesses        is        the    paradigmatic           example      of    the     type    of

strategic choice that, when made after a thorough investigation o f

the law and facts,              is virtually unchallengeable.                        See Hinton v.

Alabama, 571 U.S. 263, 275 (2014). Also, counsel is not required to


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investigate every conceivable line of mitigating evidence no matter

how     unlikely         the    effort     would      be    to    assist    the       defendant    at

sentencing. Wiggins v. Smith, 539 U.S. 510, 533                              (2003) .

                                            Discussion

        Because Crutsinger has not shown the potential merit of the

claim he wants to pursue nor the likelihood that the services would

generate useful and admissible evidence, his application must be

denied.       In     a    nutshell,        Crutsinger's           position       is    that   trial

counsel's investigation was too short, and Ms. Knox would do some

more investigating to see what might have been missed, if anything.

Crucially,         Crutsinger's            application       does     not    acknowledge          the

investigation and mental-health evaluations that were performed for

trial.       His conclusion that trial counsel failed to explore his

alcoholism,         his       "personality change"           after a        single drink,         his

history of domestic violence and abuse, and his repeated losses of

significant friends and relatives,                         is completely false.           (Amended

Application for Funds,                p.    11   (Dkt.      No.   17) .)    Information about

these       issues       is    in   Dr.     Goodness's        report       and    in    the   trial

testimony,         as discussed in Section I.                    In failing to acknowledge

this,       the ex-parte application leaves the false impression that

counsel never inquired into these issues. 5


        5
       This Court denied Crutsinger' s ex-parte request for a mental-
health expert for similar reasons . Although Crutsinger addressed the
denial of the expert in his Rule 60(b) (6) Motion, it is not before this
Court on remand. See Rule 60(b)Motion, p. 13 n.ll; Memorandum Op . And
Order Transferring Rule 60(b) Motion (Dkt. No. 98).

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                  Additional Arguments in Rule 60{b) Motion

      In his Rule 60{b) (6) Motion, filed in May of 2018, Crutsinger

acknowledged some of the              information in Dr.          Goodness's report,

which, by that point, had already been discussed in this Court's

memorandum opinion denying habeas relief. But even the post-Ayestas

Rule 60(b) Motion does no more than identify so-called "red flags"

in   Dr.   Goodness's        report     involving       matters   that    were   clearly

investigated by trial counsel and/or presented at trial.                            (Rule

60(b) Motion, p. 6-7 (Dkt. No. 90) .) Crutsinger gives short shrift

to the defense evidence at punishment and suggests that reasonable

counsel would have presented a                   mental-health defense.          But,   as

already stated,          trial counsel hired two experts whose opinions

would not have helped.            Dr.    Goodness also cautioned against the

usefulness of           further   testing    {Petition,      Exhibit     C,    .pdf page

lO(Dkt.    No .    26)),    and   the    jury heard little of            the   extensive

damaging information in the mitigation report precisely because

counsel did not rely on a mental-health defense. Other than the

allegedly     insufficient        timing of       the    investigation,        which was

carefully parsed in this Court's order denying reflief and refuted

by   Knox's       own    declaration,       Crutsinger      has   not    alleged    that

potential evidence exists               that could show counsel unreasonably

relied on the opinions of the experts.                     See Crutsinger,       2012 WL

369927, at *7.




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                      Additional Arguments in Reply to
                       Response to Rule 60(b) Motion

      In Crutsinger's 2018 Reply to the Response to his Rule 60(b)

Motion, he attempts to identify specific, potential deficiencies in

Dr. Goodness's report. See Reply to Director's Response to Motion

for Relief from Judgment Pursuant to Fed. R. Civ . Proc. 60(b) (6),

p.   14-24   (Dkt.    No.   96).    Even    if   these   allegations      accurately

reflect reality       (which is not the case),           the assertion that Dr.

Goodness     should have     done    "more"      is   patently not      the   same as

showing that the requested services would likely generate useful,

admissible evidence in pursuit of a claim with potential merit.

Every counsel, in every case, can do "more."

      Crutsinger initially complains that Dr.                 Mills     "apparently"

conducted     an     evaluation     without       the    benefit   of    documented

historical information and an adequate psycho-social history. This

assumption is supported by vague references to when counsel hired

Dr. Mills and Dr. Goodness and demonstrates nothing about what Dr.

Mills knew when he evaluated Crutsinger. Moreover,                    Dr. Goodness

evaluated Crutsinger as well,          and she conducted her own psycho-

social history evaluation .

      He next points out that Dr. Goodness's team only interviewed

six people . But he does not state that these were the only people

interviewed by the defense. Crutsinger possesses the files and work

product of his two trial attorneys and a fact investigator and

could presumably make such an allegation if it were true. In fact,

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it cannot be true, because trial counsel called eight witnesses to

testify at punishment who were not interviewed by Dr. Goodness.

Obviously, she was not the only investigator for sentencing issues.

          Crutsinger relatedly asserts that the records collection "done

by Goodness was paultry,n noting particularly that there was "no

evidence of an attempt to collectn elementa ry-school records and

Texas Department of Criminal Justice records.                   (Reply to Response,

p.   22    (Dkt. No.      96) .) Again,   the fact that Dr. Goodness did not

collect the records does not mean they were not collected.                       The

school records - including a cumulative record from elementary school

with teacher comments- were admitted into evidence.                     (DX 10.) Dr.

Goodness lists "Department of Criminal Justice recordsn as well as

jail records on her list of Case Material Received .                      (Petition,

Exhibit C, Appendix A,           .pdf page 19 (Dkt. No. 26) .)

        Crutsinger complains Dr . Goodness's report lists "no records

or documentation reflecting any attempt to gather birth and child-

hood medical records,n but he does not allege there are potentially

any to be found.           On the contrary,       the existing record suggests

there       are   not .     Crutsinger's        mother   said     his    birth   was

uncomplicated, and Dr. Goodness concluded that Crutsinger enjoyed

a "lifelong lack of consequencesn for his behavior until adulthood.

(Petition, Exhibit C, .pdf p. 5, 12-13 (Dkt. No. 26) .) Dr. Goodness

also administered Birth History and Childhood Social History self-

report surveys.        (Id. at 3, 18, 22.) Crutsinger does not allege the


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surveys     demonstrated         the     potential        existence     of     unexplored

evidence.

       Crutsinger asserts         that     there     is   "no   indication that       any

effort had been made         to locate and interview officers who had

interacted with Mr.        Crutsinger in the criminal justice system."

(Reply to Response, p . 22 (Dkt. No. 96) .) Again, this does not mean

officers were not contacted. As discussed in Section I,                           counsel

called    the   bailiff    and     two    deputy     sheriffs     to    testify     about

Crutsinger's behavior while incarcerated. (31 RR 154; 32 RR 2 , 10 . )

       Crutsinger argues in the reply to response that trial counsel

unreasonably failed to hire an expert in addiction and pursue a

defense that would help the jury understand the link between the

criminal    conduct,      "his     history      of    trauma,"    and        Crutsinger's

alcoholism . (Reply to Response, p. 23 (Dkt. No . 96) .) Dr. Goodness

lS   a forensic psychologist whose qualifications to advise counsel

on this subject have not been challenged. She diagnosed Crutsinger

with   (among other things)            alcohol dependence,         in institutional

remission, and believed he likely had a biological predisposition

to alcoholism and poorer brain functioning as a result. But she,

like the scientific articles that Crutsinger filed in support of

his petition,    asserted there is no definitive neuropsychological

pattern exhibited by individuals who have damaged their brains due

to alcohol use, and that "consideration should be given to exactly

how useful further clarification" from additional testing would be,


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given the circumstances.                 (Petition, Exhibit c,    .pdf page 10 (Dkt .

No.   2 6) . )    Thus,     the trial        team did not overlook the defensive

strategy Crutsinger now proposes.

      In short,           these arguments for funding in the reply to the

response         to   the   Rule    60 (b)    Motion must   be   rejected.    They are

artfully phrased facial challenges to Dr. Goodness's report that

ignore material, conflicting information in the record showing what

the defense team obviously did as a whole.

                                           Conclusion

      Lest Crustinger complain that, in discussing the trial record,

the Court is deciding in advance that the claim has no merit in

order to deny the requested funds, this is not the case. This Court

is not obligated to turn a blind eye when the record contradicts

assertions made by a party,                  especially in ex - parte proceedings .

Moreover,        the Court has viewed the application for funds as it

might potentially apply to any type of Wiggins claim and not simply

the one that has already been denied on the merits.

      Trial counsel's investigation touched on all of the issues

that Crutsinger says were overlooked. It is incumbent on Crutsinger

to explicitly allege what potential evidence remains to be found .

Even if     the Court were to accept the                facial    challenges to Dr.

Goodness's report, which it does not, the alleged deficiencies in

document         collection        and    witness   development    do   not    justify

autho rizing the $7,500 requested .


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         Crutsinger chose not to update his application in supplemental

briefing filed after remand . See Supplemental Brief (Dkt. No. 111).

Thus,     eleven years after his initial request, Crutsinger has not

shown the potential merit of a claim he wants to pursue; rather, he

seeks funds to go in search of a claim. He also has not shown the

likelihood that the services would generate useful and admissible

evidence; he instead proposes to re - do the investigation.

         Crutsinger's application for funding is DENIED .

                        Certificat e of Appealability

         The Court denies a certificate of appealability. See 28 U.S.C.

§     2253 (c).   Crutsinger's   arguments    are   based   on   (1)   the   false

premise that this Court wrongly denied funds in 2008,                  and (2)   a

false and misleading representation of the record. Cr utsinger has

not demonstrated that reasonable jurists would (1) find the Court ' s

assessment of the constitu t ional claims debatab l e or wrong, or (2)

find it debatable whether the Court was correct in its procedural

ruling. Slack v. McDaniel, 529 U. S. 473, 484           (2000).

        SIGNED on this the 8th day of August, 2019.




                                             UNITED STATES DISTRICT JUDGE




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